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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA


Strio Consulting, Inc.,                            Civil No. 19-CV-01048-ECT-BRT
a Minnesota Corporation,

              Plaintiff,
v.                                              SECOND AMENDED COMPLAINT

RocketPower, Inc.,
a Delaware Corporation,

              Defendant.


RocketPower, Inc.,
a Delaware Corporation,

              Plaintiff,

v.

Strio Consulting, Inc.,
a Minnesota Corporation

              Defendant.


       For its Second Amended Complaint against Defendant RocketPower, Inc.

(“RocketPower” or “Defendant”), Plaintiff Strio Consulting, Inc. (“Strio”), states and

alleges as follows:

                             JURISDICTION AND VENUE

       1.     Strio is a Minnesota corporation with its registered office address located at

1390 Neal Avenue North, Lake Elmo, MN 55042.
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       2.     RocketPower is a Delaware Corporation with its registered agent address

located at 2035 Sunset Lake Road, Suite B-2, Newark, Delaware 19702 and its registered

entity address located at 9000 Crow Canyon Road, Suite 132, Danville, California 94506.

       3.     This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1332(a)

because there is diversity between the parties and the amount in controversy exceeds

$75,000.

                               FACTUAL ALLEGATIONS

       4.     Strio is a Minnesota corporation which supplies staffing solutions to

numerous companies over a broad range of industries as well as other services. Caleb

Fullhart (“Fullhart”) is Strio’s chief executive officer.

       5.     Strio is customarily contacted by companies either in need of employees to

fill immediate roles within their business, or by companies wishing to employ the

services of a professional recruiter to hire individuals for a specific position.

       6.     While Strio’s employees are currently located in over eighteen (18) U.S.

states, Strio’s employees are subject to employment agreements governed by Minnesota

law.

       7.     RocketPower “provides talent solutions to rapidly scaling technology

companies.”

       8.     One example of an area which RocketPower provides staffing is through

companies manufacturing and testing autonomous driving vehicles. RocketPower is




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contacted by these companies to locate and provide individuals with the proper

credentials to operate their vehicles.

       9.     Mathew Caldwell (“Caldwell”) is the founder and current Chief Executive

Officer of RocketPower.

       10.    Caldwell became aware of Strio and its substantial work force in 2017 and

thereafter contacted Fullhart to discuss a potential business relationship between Strio

and RocketPower.

       11.    Caldwell and Fullhart engaged in discussions and, eventually, negotiations

in the following months regarding a potential business relationship between RocketPower

and Strio.

       12.    As a result of these negotiations, Strio and RocketPower entered into a

“shared-cost, shared profit” agreement (the “Agreement”) whereby Strio would assign its

employees to fill personnel needs for RocketPower as part of its work with various

clients, including self-driving car road testing projects and targeted short-term recruiting

projects.

       13.    Pursuant to the terms of this Agreement, which was memorialized in email

communications between the companies, Strio and RocketPower would share equally in

the cost of Strio providing its employees’ services to RocketPower’s customers, including

payroll expenses, on an ongoing basis and the parties would equally split any profits

derived from projects staffed by Strio’s employees.




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       14.    The parties’ Agreement further required RocketPower to invoice its

customers for the services provided at an hourly or flat rate. However, under the terms of

the Agreement, RocketPower was required to pay its half of the costs of Strio providing

labor, as set forth in invoices provided by Strio, regardless of whether it collected from its

customers or if the total payout on a given job exceeded the costs. Additionally, once

RocketPower was paid by its clients, it was further required to pay Strio one-half of all

profits earned on work performed.

       15.    All invoices sent by Strio indicated payment was to be made in Minnesota

and the parties agreed all payments would flow through a joint account in Minnesota.

       16.    To establish a joint source of funds to facilitate the sharing of costs and

profits under the Agreement, RocketPower and Strio opened a joint checking account

through Wells Fargo Bank in Minneapolis, Minnesota.

       17.    The parties operated under their Agreement throughout the course of 2018

and into 2019, with RocketPower transferring funds into the parties’ joint Minnesota

account.

       18.    In furtherance of their Agreement, representatives of Strio and

RocketPower worked together on a daily basis to operate their joint enterprise and

complete administrative functions, including hiring, staffing, invoicing, marketing and

other functions.




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       19.    The parties’ respective representatives and employees also joined in “all-

hands” group meetings at various times in 2018, with the first such meeting occurring in

Minnesota in August 2018.

       20.    As the parties continued to operate under their Agreement, they were

successful in securing clients and Strio always provided the required personnel to

complete the work for RocketPower’s clients.

       21.    RocketPower collected millions in revenue from its clients, as evidenced by

bank transaction data shared with Strio, but it nonetheless failed to timely pay to Strio its

portion of the cost or distribute any profits earned through its activities.

       22.    RocketPower also failed and otherwise refused to pay its half of the cost of

providing labor to staff the projects to Strio, forcing Strio to pay the entirety of its payroll

expenses despite receiving little or no payments from RocketPower in an effort to avoid

having to terminate those individuals’ employment with the company.

       23.    Upon information and belief, RocketPower and Caldwell have wrongfully

withheld and diverted funds rightfully belonging to Strio for their own personal and

business use, including Caldwell buying a personal new vehicle and funding other

projects and companies in which Strio has no stake.

       24.    As a result of RocketPower’s failure to remit profits to Strio, as well as its

refusal to share in the expenses, as per the parties’ Agreement, Strio is currently owed

$1,169,238.12 by RocketPower, in addition to RocketPower’s half of ongoing payroll

expenses.



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       25.    The sum owed by RocketPower to Strio accounts for the advancement of

costs incurred by Strio through satisfying its payroll obligations to its Minnesota

employees as well as 50% of the profits unlawfully withheld by RocketPower.

       26.    RocketPower’s unlawful conduct has directly and proximately resulted in

significant monetary damages to Strio, as Strio has been supplying RocketPower with the

continuous employment services of its Minnesota employees without payment of just

compensation or the agreed-upon reimbursement to Strio for its payroll costs, which is

contrary to the parties’ Agreement.

       27.    Strio had a direct contractual relationship with each of the employees and

independent contractors who worked on RocketPower-related projects, and each of its

employees and contractors signed written contracts memorializing the terms of the

parties’ agreements (collectively the “Personnel Agreements”) prior to, and as a condition

of, their employment or contractor relationship with Strio.

       28.    All of the work performed by Strio employees and contractors on

RocketPower-related projects which generated revenue for Strio and RocketPower’s joint

business was done pursuant to those individuals’ Personnel Agreements.

       29.    Each of the Personnel Agreements contained choice of law clauses which

provided that the agreements would be subject to and interpreted under Minnesota law.

       30.    Each of the Personnel Agreements contained restrictive covenants which,

among other things, prohibited the employees and contractors from working for or with

any Strio client or business partner for one year after the termination, for any reason, of



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that individual’s employment or contract with Strio.         The restrictive covenants

specifically prohibited these individuals from seeking employment with or otherwise

working for RocketPower.

       31.    RocketPower had actual knowledge of these Personnel Agreements and the

restrictive covenants contained therein.

       32.    Notwithstanding, on or about July 1, 2019, RocketPower sent a written

communication to all of Strio’s employees and contractors assigned to RocketPower-

related projects offering each employment with RocketPower in the same role as they

were previously performing as an employee/contractor of Strio, and informing those

individuals that if they did not resign their employment with Strio and accept

RocketPower’s offer of employment by midnight on July 2, they would be without a job.

       33.    The vast majority of Strio employees who received this communication

resigned from Strio and accepted employment with RocketPower in violation of their

respective Personnel Agreement.

       34.    RocketPower, without justification, tortiously and intentionally procured a

breach of Strio’s Personnel Agreements by encouraging and aiding Strio’s employees and

contractors from breaching their agreements under threat of loss of employment.

       35.    As a direct and proximate result of RocketPower’s conduct, Strio has been

damaged, and may continue to be damaged, in an amount to be determined at trial and

has suffered irreparable harm to its business.




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                                   COUNT ONE
                               BREACH OF CONTRACT

       36.    Plaintiff realleges and incorporates by reference herein the foregoing

allegations as though fully set forth herein.

       37.    The Agreement entered into by RocketPower and Strio is a fully

enforceable contract.

       38.    RocketPower has materially breached the parties’ Agreement by, among

other things, failing to pay its half of the costs for Strio’s provision of its employees’

services for projects covered by the Agreement and failing to distribute one-half of all

profits earned on such projects.

       39.    Strio has fulfilled, and continues to fulfill, its obligations under the parties’

Agreement.

       40.    As a direct and proximate result of RocketPower’s breaches of the

Agreement, Strio has been damaged in an amount in excess of $1,169,238.12 to be

determined at trial.

                                    COUNT TWO
                                UNJUST ENRICHMENT

       41.    Plaintiff realleges and incorporates by reference herein the foregoing

allegations as though fully set forth herein.

       42.    RocketPower knowingly received employment services from Strio and its

Minnesota employees and willfully and unjustly retained all payments and profits

generated by such services, including funds which should have been allocated to pay the



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costs of providing such services and the profits earned from projects for which services

were provided.

       43.    RocketPower has been unjustly enriched through its unlawful and unfair

retention of all revenue generated through the services provided by Strio and it would be

unjust to permit RocketPower to retain those funds.

       44.    Through this and other conduct, RocketPower acted with malicious, willful,

or reckless disregard for the rights of Strio. RocketPower either had knowledge of facts

or intentionally disregarded facts that created a high probability of injury to the rights of

Strio, but nonetheless took actions which resulted in injury to Strio’s rights.

       45.    As a direct and proximate result of RocketPower’s unjust enrichment, Strio

has been damaged in an amount in excess of $1,169,238.12, in addition to punitive

damages in an amount to be determined at trial.

                                  COUNT THREE
                          CIVIL THEFT AND CONVERSION

       46.    Plaintiff realleges and incorporates by reference herein the foregoing

allegations as though fully set forth herein.

       47.    RocketPower unlawfully took possession of funds belonging to Strio and

has wrongfully deprived Strio of the use of its property in violation of Minn. Stat.

§ 604.14.




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       48.    RocketPower willfully interfered with, and retained complete possession of,

funds which Strio had a legal right to possess and use and thereby converted and deprived

Strio of the use of that property.

       49.    Through this and other conduct, RocketPower acted with malicious, willful,

or reckless disregard for the rights of Strio. RocketPower either had knowledge of facts

or intentionally disregarded facts that created a high probability of injury to the rights of

Strio, but nonetheless took actions which resulted in injury to Strio’s rights.

       50.    As a direct and proximate result of RocketPower’s theft and conversion of

Strio’s funds and property, Strio has been damaged in an amount in excess of

$1,169,238.12 to be determined at trial, in addition to punitive damages in an amount to

be determined at trial.

                                COUNT FOUR
                     TORTIOUS INTERFERENCE WITH CONTRACT

       51.    Plaintiff realleges and incorporates by reference herein the foregoing

allegations as though fully set forth herein.

       52.    The Personnel Agreements entered into by Strio with its employees and

contractors are fully enforceable agreements with binding and enforceable restrictive

covenants preventing those employees and contractors from working as employees of

RocketPower.

       53.    RocketPower and its CEO, Mathew Caldwell, had actual and/or

constructive knowledge of the Personnel Agreements, the restrictive covenants contained




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therein, and the fact that Strio required all employees and contractors to sign Personnel

Agreements prior to, and as a condition of, their employment or contractor relationship

with Strio.

       54.    RocketPower intentionally, tortiously and without justification interfered

with Strio’s Personnel Agreements by, among other things, hiring Strio’s employees and

contractors, inducing, encouraging, and aiding those employees and contractors to breach

their Personnel Agreements by accepting employment with RocketPower, coercing

Strio’s employees and contractors into agreeing to accept employment with

RocketPower, providing those individuals with false and misleading information,

defaming and disparaging the character of Strio personnel, and otherwise improperly

attempting to procure breaches of the Personnel Agreements.

       55.    RocketPower’s interference was improper and without justification.

       56.    Through this and other conduct, RocketPower acted with malicious, willful,

or reckless disregard for the rights of Strio. RocketPower either had knowledge of facts

or intentionally disregarded facts that created a high probability of injury to the rights of

Strio, but nonetheless took actions which resulted in injury to Strio’s rights.

       57.    As a direct and proximate result of RocketPower’s tortious interference

with Strio’s Personnel Agreements, Strio has been damaged in an amount to be

determined at trial, has suffered irreparable harm to its business which monetary damages

cannot remedy, and is entitled to punitive damages in an amount to be determined at trial.




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                                PRAYER FOR RELIEF

      WHEREFORE, Plaintiff Strio Consulting, Inc. respectfully requests that this Court

enter judgment in its favor and against Defendant RocketPower, Inc. in an amount in

excess of $1,169,238.12 to be determined at trial, award Plaintiff punitive damages, costs,

and disbursements and grant whatever other and further relief it deems equitable and just.


                                          FAFINSKI MARK & JOHNSON, P.A.


Dated: March 27, 2020                     By: s/ Tyler P. Brimmer
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